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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

 BRAD A. MART,                                      )
                                                    )
          Plaintiff,                                )     Case No. 10-CV-118
                                                    )
 v.                                                 )     Judge Moody
                                                    )
 BERKSHIRE HATHAWAY, INC., FOREST                   )     Magistrate Judge Nuechterlein
 RIVER, INC. and PETER J. LIEGL,                    )
                                                    )
          Defendants.                               )

      DEFENDANTS FOREST RIVER, INC. AND PETER J. LIEGL’S OPPOSITION TO
       PLAINTIFF’S MOTION FOR CERTIFICATION OF APPEALABILITY UNDER
                   FEDERAL RULE OF CIVIL PROCEDURE 54(b)

          Defendants Forest River, Inc. and Peter J. Liegl (collectively, the “Forest River

 Defendants”) respectfully join in Defendant Berkshire Hathaway’s Brief in Opposition to

 Plaintiff Brad A. Mart’s Motion for Certification of Appealability Under Federal Rule of Civil

 Procedure 54(b). The Forest River Defendants incorporate as if restated fully herein all

 arguments in opposition stated by Defendant Berkshire Hathaway in its Brief in Opposition filed

 as ECF Docket Number 112 .


          WHEREFORE, the Forest River Defendants respectfully request that this Court deny

 Mart’s Motion for Certification of Appealability under Fed. R. of Civ. Pro. 54(b).

 April 4, 2012                                      Respectfully submitted,

                                                    FOREST RIVER, INC. and PETER J. LIEGL


                                                    By: /s/ Steven J. Pearlman
                                                             One Of Their Attorneys

  Jeanine M. Gozdecki (16909-71)           Ronald L. Lipinski
  Gerald F. Lutkus (13712-71)              Steven J. Pearlman
  Barnes & Thornburg                       (Admitted Pro Hac Vice)


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                                  CERTIFICATE OF SERVICE

      The undersigned attorney certifies that on April 4, 2012, he caused a copy of
 DEFENDANTS FOREST RIVER, INC. AND PETER J. LIEGL’S OPPOSITION TO
 PLAINTIFF’S MOTION FOR CERTIFICATION OF APPEALABILITY UNDER FEDERAL
 RULE OF CIVIL PROCEDURE 54(b) to be served upon:

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 by filing the same with Clerk of the Court using the CM/ECF system, which will send
 notification.

                                       /s/ Steven J. Pearlman
                                        Steven J. Pearlman




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